Case 2:16-cV-01354-GAI\/| Docume'nt 1 Filed 03/24/16 Page 1 of 20

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BRYAN H()LDEN

Plaintiff : CIVIL ACTION

v. : NO.

UNIVERSITY OF PENNSYLVANIA

Det`end_ant : JURY 'I`R_IAL DEMANDED

COMPLAINT

I. PRELIMlNARY STATEMENT

l. _ This is a complaint by Plaintiff Bryan Holden for retaliation and disability-related
discrimination against the University of Pennsylvania under Title HI of the Arnericans With
Disabilities Act (ADA), 42 U.S.C. § 12186 et seq. and Section 504 of the Rehabilitation Act of
1973, 29 U.S.C. §793 et seq., (hereinafter “Section 504") for_its discriminatory and retaliatory
actions, culminating in his dismissal from the Um'versity’s graduate nurse anesthesia program on
June 19, 2014. Mr. I-Iolden seeks a declaration that University’s actions violate the ADA and
Section 504. In addition, he seeks compensatory damages and reimbursement for the attorneys
fees and costs he has incurred, and Will incur, in the prosecution of this Action.
II. JURISDICTION AND VENUE

2- Jurisdiction is predicated upon 28 U.S.C. § 1331, this being an action arising
under the laws of the United States. Jurisdiction is further predicated upon 29 U.S.C. §794.

3. All of the actions complained of herein took place Withjn the confines of the City

of Philadelphia and the Eastern District of Pennsylvam`a.

Case 2:16-cV-01354-GAI\/| lDocument 1 Filed 03/24/16 Page 2 of 20

III. PARTIES

4. Bryan Holden is a citizen of the United States and the State of Ohio Who resides at
1227 Laurence Road, Wyoming Ohio, 45215.

5. Plaintiff is an individual With a disability as defined by Title III of the ADA and
and Section 504. 42 U.S.C. §29 U.S.C. §794.

6- Mr. Holden is a qualified individual With a disability because he meets the n
academic and technical standards required for admission or participation in the nurse anesthesia
program at the University of Pennsylvania (hereafter “the University” or “Penn”).

7. The University is a private educational institution, With its principal place of
l business located at 1 College Hall, Philadeiphia, PA 19104.

8. Penn is a “public accommodation” as defined by Title III as it offers
“examinations and courses related to applications, licensing, certification, or credentialing for
secondary or post-secondary education, professional or trade purposes.” 42 U.S.C. § 12182(a); 42
U.S.C. §12181(7). See also 28 C.F.R. § 36.104; 28 C.F.R. §36.102.

9. The University is a federal fund recipient for purposes of Section 504 and its
School of Nursing is a “program and/or activity” Which is supported, at least in part, by federal
financial assistance 34 C.F.R. §104.41.

IV. STATUTORY AND REGULATORY BACKGROUN])

10. Title iii of the ADA (hereafter “Title IH”) prohibits discrimination on the basis of
disability by private entities in places of public accommodation 42 U.S.C. §12182(a). Section
504, likewise, prohibits discrimination on the basis of disability against any qualified person With

`_a disability

Case 2:16-cv-01354-GA|\/| Document 1 Filed 03/24/16 Page 3 of 20

ll. Title 111 defines discrimination, among other things, as denying a qualified person
With a disability vvith an unequal opportunity to participate or benefit from the goods or services
offered by public accommodation on the basis of such disability. 28 C.F.R. § 36.202 (a)-(b).

12. Section 504 provides that a qualified individual With a disability may not, on the
basis of disability, be excluded from participation in, be denied the benefits of`, or otherwise be
subjected to discrimination under any post-secondary education program or activity or provided
services or benefits Which are different from or not equal to those provided to students Without
disabilities

13. Federal fund recipients and public accommodations are required to make
reasonable modifications to policies, practices, or procedures, as necessary to provide an
individual With a disability an equal opportunity to participate and benefit from the services
offered by the public accommodation, including, inter alia, making changes in the length of time
permitted for the completion of the course, substitution of specific requirements, or adaptation of
the manner in Which the course is conducted or course materials are distributed.. 28 U.S.C.
§36.302 (a); 28 U.S.C. §36.309.

14, Title 111 also precludes public accommodations from utilizing standards or criteria
or methods of administration that have the effect of discriminating on the basis of disability, or `
that perpetuate the discrimination of others vvho are subject to common administrative control.
28 C.1“`.R. §36.204.

15. Both Title III and Section 504 prohibit retaliation against a person With a
disability because they have opposed any act or practice made unlawful by those provisions 28

C.F.R. §36.206; 34 C.F.R. §104.61.

Case 2:16-cv-01354-GA|\/| Document 1 Filed 03/24/16 Page 4 of 20

V. FACTUAL ALLEGATIONS

16. After a competitive selection process Bryan Holden was accepted in Penn’s
graduate nurse anesthesia program and enrolled in the program on or about May 21 , 2013.

17. Penn’s nurse anesthesia masters program is a two year course of study Which
entails both a classroom and a clinical component

18. Academic progress is tracked through grades Clinical progress islreported
daily in writing, simultaneously to both students and their advisors This allowed students to
monitor their progress and benth from timely feedback from preceptors in each clinical setting,
who vary from day to day, and to make adjustments or take other action to improve in areas
identified by their clinical supervisors

19. Prior to his admission to Penn, Mr. Holden earned a Bachelor’s Degree in
Biological Science, summa cum laude, from Lee University in 2005, followed by a Bachelor’s of
Science Degree in Nursing (BSN) in 2010 from the University of Cincinnati. He also worked for
2 years in a medical ICU unit in Cincinnati, Ohio.

20. Mr. Holden was diagnosed with ADI-ID when he was 11-years old.

21. ADHD is a disorder in the frontal lobe of the brain which impacts Mr. lHolden’s
neurological hmctioning.

22. As is true for many people With ADHD, Mn Holden also suffers from co-morbid
anxiety, particularly performance anxiety.

23. Without mitigation, Mr. Holden’s ADHD and anxiety substantially limit his brain
and neurological functioning, and also impact his ability to concentrate, think, consolidate

learning, and perform under pressure

Case 2:16-cv-01354-GA|\/| Document 1 Filed 03/24/16 Page 5 of 20

24. Although he sometimes needs additional time or extra practice to master a skill,
Mr. Holden is intelligent and his impairments do not limit his cognitive abilities in any way.

25. Throughout his life, Mr. llolden has controlled his symptoms ofADHD and
anxiety with a combination of medication and executive functioning strategies

26. ln spite of his disabilities Mr. Holden has never allowed his disabilities to impede
his performance as a nurse, either academically or clinically.

27. Mr. Holden chose to attend Penn because of the combination of its academic rigor
and its advertised focus on the mentoring relationship and the ability to address the individual
needs of its students This was important to Mr. Holden in order to ensure that the services and
supports he would need in a graduate nursing program because of his disabilities would be
readily available to him.

28. ln particular, Mr. Holden was attracted by Penn’s simulation laboratory (SIM Lab) l
which would allow him the opportunity for extra practice which he often needed to consolidate
learned skills and reduce anxiety before being called upon to perform in a live patient setting

29. At all times relevant to this complaint, Russell Lynn was the Prograrn Director for
Penn’s Nurse Anesthesia program. He was also Mr. Holden’s assigned advisor.

30. At the end of June, 2013, Mr. Holden met with Professor Lynn to discuss the
results of a classroom examination Although Mr. Holden had received a “B” on the exam, he
had been expecting a much higher grade.

31. During the meeting with Professor Lynn, Mr. Holden discovered that he had made
an error transferring his answers onto the scantron. During the conversation he disclosed to

Professor Lynn that he had ADHD and that he suffered from anxiety.

_5_

Case 2:16-cv-01354-GA|\/| Document 1 Filed 03/24/16 Page 6 of 20

32. Mr. Holden told Professor Lynn that he was not currently taking medication
and asked what services might be available at Penn to help him address the issue.

33. Professor Lynn referred Mr. Holden to the Student Disabilities (Weingarten)
Center (SDS) for any assistance he might need in organization or study skills and also to Penn’s
Counseling And Psychological Services Center (CAPS ) for treatment of his ADI-ID and anxiety.

34. SDS Center provides and coordinates Penn’s delivery of services academic
adjustments and auxiliary aids for purposes of it compliance with the ADA and Section 504.

3 5. Mr. Holden began receiving treatment and medication for his ADHD and his
anxiety from one of the psychiatrists at CAPS. 1-1e also met regularly with a counselor/service
coordinator at SDS.

36. Mr. Holden discussed with his counselor at CAPS that he`needed more time in the
SIM Lab and also expressed a concern that he was not getting the support he needed from
faculty.

37. In spite of Mr. Holden’s excellent clinical background, Lynn erroneously
perceived his impairments as far more debilitating than they actually were and subjected him
behind the scenes to extra scrutiny because of his disabilities and his unfounded expectation that
because of those disabilities Mr- Holden would present a safety risk and/or would be incapable
of successh.illy completing the nurse anesthesia program-

38. In violation of federal privacy laws, Professor Lynn discussed Mr. Holden’s
disabilities and private medical information with other faculty as well as staff at Pennsylvania

Hospital where he was assigned for clinical rotations.

Case 2:16-cv-01354-GA|\/| Documentl Filed 03/24/16 Page 7'0f 20

39. During the next 6 months, Mr. Holden continued to make excellent
academic progress and his daily reports from the clinical setting were mostly positive. y

40. Although Mr. Holden made numerous requests for extra time in the SIM Lab, and
his need for such supported was confirmed by some of his supervisors he was provided only
minimal opportunity for extra practice

41 . On November 5, 2013, Mr. Holden met with Professor Lynn and another faculty
member to discuss his care plans and to request additional access to the SIl\/l Lab. Lynn told l\/lr.
Holden to speak with others on the faculty because time in the SIM Lab had to be supervised

42. By November 5“‘, Lynn had widely disseminated his negative expectations about
Mr. Holden to his clinical supervisors including preceptor Coleen Costick, who by that time had
worked with Mr. Holden only once, on August 20, 2013, at which time she reported that he had
done a good job.

43. The next two days, November 6“‘ and 7“‘, Mr. Holden worked with Ms.
Costick and received negative reviews, neither of which she provided to him. She reported
directly to Professor Lynn that Mr. Holden was sometimes “s_haky”, anxious, and “disorganized.’i

44. Ms. Costick next worked with Mr. Holden on November 17th a Sunday, after
which she telephoned Professor Lynn to report that Mr. Holden was “not getting any better.”

45. During the same time frame, other preceptors reported that Mr. Holden was doing
well. Mr. Holden, however, was requesting additional time in the SIM Lab.

46. On November 26, 2013, Mr. Holden was called into an unannounced meeting
with Professor Lynn. Also present was another faculty member, Angelarosa DiDonato, J en

String, a preceptor with whom Mr. Holden had worked only once, and Adrian Rodrigo, one of

_7_

Case 2:16-cv-01354-GA|\/| Document 1 Filed 03/24/16 Page 8 of 20

the three Clinical Coordinators at Pennsylvania Hospital and someone Mr. Holden had never met
before

47. Professor Lynn began the meeting by apologizing for the lack ofnotice,
explaining that helhad not wanted to “make [Mr. Holden] nervous” or “distract him.”

48. During the meeting, Lynn disclosed Mr. Holden’s medical diagnoses his
treatment at CAPS, and his use of services at SDS.

49. Lynn presented Mr. Holden with an “Action Plan,” purportedly drafted
by “program faculty,” which was already signed by one of the Clinical Coordinators at
Pennsylvania l-lospital who was not at the meeting and whom Mr. Holden had met for the first
time that day. `

50. Although Professor Lynn did not provide a clinical foundation for the Action
Plan, he repeatedly stressed Mr. Holden’s purported “distractibility” and “anxiety” which he
presented as an issue of patient safety.

51 . None of Mr. Holden’s preceptors had ever indicated that he had done anything
whatsoever to compromise patient safety.

52. l\/Ioreover, Mr. Holden was extremely concerned about patient safety, first and
foremost, and took every precaution to ensure that patient safety took precedence over
everything, even his own learning

5 3. Du_ring the meeting Ms. DiDonato stated that she had only worked with Mr.

Holden twice and both times had been “awesome.”

Case 2:16-cv-01354-GA|\/| Document 1 Filed 03/24/16 Page 9 of 20

54. The clinical preceptor, Ms. String, stated that she had limited experience working
with Mr. Holden but agreed that he would benefit from some extra practice in the SIl\/l Lab,
something Mr. Holden himself had been requesting Both the preceptor and the Clinical
Coordinator agreed that Mr. Holden should be placed with a consistent preceptor to help solidify
his skills in a consistent environment

55 . Lynn made no changes to the plan based on the input he received during the
meeting and he demanded that Mr. Holden to sign it before he left.

56. The Action Plan contained no remediation services or accommodation to address
the perceived deficiencies in Mr. Holden’s clinical performance lnstead, among other things it
called for Mr. Holden to “decrease his anxiety levels” and meet with all applicable resources _at
CAPS by January 30, 2014, when the plan would expire.

5 7. After the meeting, Professor Lynn circulated the Action Plan to other faculty
without Mr. Holden’s consent and to all of the Clinical Coordinators at Pennsylvania Hospital.
These coordinators had little to no direct interactions with Mr- Holden and no reason to know
about his medical issues

58. Mr. Holden continued to do well academically and received good feedback nom
his preceptors for the rest of the semester. He received a clinical grade of B+ and finished the
semester with an overall GPA of 3.51.

59. When l\/lr. Holden returned after the Christmas break he continued to perform
well in the clinical setting as indicated by his daily preceptor reports

60. l\/leanwhile, Mr. Holden requested that he be placed at Cooper Medical Center for

his cardiac rotation.

Case2:16-cv-01354-GAI\/| Documentl Filed 03/24/16 Page 10 of 20

61. All students were allowed to request rotation site but for Mr. Holden, it was
particularly important that he placed where he could be evaluated on the merit of his own
performance, not through the lens of his disabilities which by that time, had become common
knowledge among all of his supervisors

61 . On lanuary 28, 2014, two days before the Action Plan was due to expire, Lynn
denied Mr. Holden’s request to do his cardiac rotation at Cooper based on Lynn’s ` purported
“fear” that allowing Mr. Holden to leave his primary site at Pennsylvania l-lospital would “make
[hz'm] nervous ” and serve as an “addi`ti`onal distraction.”

62. Lynn provided no substantive basis for denying Mr. Holden’s request, but denied
that request on the sole basis of his disabilities Lynn’s erroneous and exaggerated perceptions of
them premised on myths, fears and stereotypes about ADHD and anxiety.

63. Approximately a week later, Lynn presented Mr. Holden with a second ‘fAction
Plan” based on the same purported “difficulties” from the Fall semester upon which he premised
the first Action Plan.

64. Mr. Holden had solid clinical performance since the first Action Plan was put64.
in place and Lynn provided no clinical basis for the second Action Plan.

65. Lynn acknowledged that Mr. Holden had been doing well but claimed to have had
discussions with some of his preceptors regarding his “anxiety” and “distractibility,” all`elieited
by Lynn himself through his inappropriate discussions of Mr. Holden’s private medical issues
with preceptors who had not raised them and had no need to know about them.

66. The second Action Plan contained the same goals as the first Action Plan and

provided no services to remediate any of the deficiencies it purported to address

110_

Case 2:16-cv-01354-GA|\/| Document 1 Filed 03/24/16 Page 11 of 20 _

67. On February 26, 2014 Mr. Holden was called into a meeting with Professor Lynn
and to discuss an incident two weeks earlier, on February llm, directly after the second Action l
Plan was put in place, which Lynn described as proof of Mr. Holden’s inability to respond to an
emergency

68. Unbeknownst to Mr. Holden, his preceptor on February ll“‘, Coleen Costick, `
reported directly to Lynn that Mr. Holden had failed to notice a laryngospasm, which, had it
happened, would have been an emergency event and would have triggered a specific reporting
protocol. In fact there was no laryngospasm and no emergency event was ever reported that day.

69._ Throughout the February 26th meeting, Lynn used the disputed events of February
llth to characterize Mr. Holden’s entire clinical performance He focused almost exclusively on
his unfounded and exaggerated perceptions about Mr. Holden’s attention and anxiety, and
accused him of “missing things.”

70. As a seasoned ICU nurse, Mr. Holden would not have missed a laryngospasm

71. Lynn provided no objective data to support his concerns and ignored the
mostly good clinical progress set forth on the daily preceptor reports

72. Lynn said he did not think it was “ethical” to allow Mr. Holden to continue in the
clinical and later that day informed him that he was not to return to clinical until further notice

73. During the February 26Th meeting Lynn did not provide Mr. Holden a copy of the
report from February llth. ln fact, Lynn did not received it himself until the following day,

February 27th

_11_

Case 2:16-cv-01354-GA|\/| Document 1 Filed 03/24/16 Page 12 of 20

74. Lynn directed l\/lr. Holden to provide him with a medical clearance from Dr.
Alexander, the medical director of CAPS and whom l\/.lr. Holden had never met, to ensure that
“there isn’t something going on that [the School ofNursing] didn’t know abou ” and also to
make sure that Mr. Holden was receiving “proper medical treatment.”

75. Mr. Holden asked Professor Lynn to put his request in writing and to provide the
objective data being used to pull him out of clinical Lynn did neither.

78. Lynn’s decision to pull Mr. Holden out of clinical was based on his perceptions of
Mr. Holden’s medical condition. Because of his of that condition, Lynn was holding him to
standards not required of other students in an effort to create a record upon which he could
dismiss him from the program.

79. On March 5, -2014, l\/lr. Holden attended a meeting with Professor Lynn, Dr.
McCauley, Associate Dean and two other faculty members

80. During the March Sth meeting, Lynn presented Mr. l-lolden with a daily preceptor
report nom February 13, 2014, which Mr. Holden had never seen, and which the preceptor did
not forward to Lynn until February 27‘h, the day after he banned Mr. Holden nom clinical.

81. The February 13th report stated that Mr. Holden had “snapped at” his precepfor
after she expressed disagreement with the amount of medication he administered during a spinal
surgery, after which she allegedly asked him to leave the room.

82. Mr. Holden did not snap at his preceptor, did not over-medicate the patient, and
was never asked to leave the room. His preceptor rated his professional demeanor that day as 3-

4/5, or competent/nearly competent

_]_2,.

Case 2:16-cv-01354-GA|\/| Document 1 Filed 03/24/16 Page 13 of 20

83. Lynn told Mr. Holden during the March Sth meeting that Dr. Alexander would not
agree to provide him a medical clearance because of his concerns about Mr. Holden’s 1
participation in the clinical

84. As of l\/larch 5th l\/lr- Holden had not yet met Dr. Alexander and Dr. Alexander did
not see any need to release my Mr. Holden’s medical information to the School of Nursing.

85 . Lynn ended the meeting by refusing to allow Mr. Holden to return to clinical
without a clearance horn Dr. Alexander, something he was requiring only because of his
erroneous and exaggerated perceptions of Mr. Holden’s medical condition

86. On or about March 14, 2014, Dr.` Alexander provided a medical clearance for Mr.
Holden to return to clinical. Lynn did not permit him to return, however.

87. A week later, on March 215‘, Professor Lynn summoned Mr. Holden for another
meeting and presented him with a “written warning” and probation document premised on the
February llth and February 13th preceptor reports still neither of which had been disclosed to
Mr. Holden.

88. Lynn attempted to coerce l\/lr. Holden into signing the document even though it
was factually inaccurate and required him to satisfy competency standards not required of other
students l\/loreover, l\/lr. Holden had already missed more than a month of clinical, which had
interrupted the continuity of his clinical experience impeded his progress and left him with less
time than his counterparts to achieve and demonstrate clinical proficiency

89. On l\/larch 24, 2014, Mr. Holden told Professor Lynn that he could not sign the
document in its current form and gave him a formal request for accommodation including a

“minimum of 30 minutes weekly access to the SIM Lab sessions to aid in development of [his]

_13_

Case 2:16-cv-01354-GA|\/| Document 1 Filed 03/24/16 Page 14 of 20

technical skills” and a consistent clinical preceptor. Lynn remarked that this was the first time
Mr. Holden had used the word “accommodation.”

90. Professor Lynn went on to deny Mr. Holden’s request for regular access to the
Sll\/l Lab. histead, he offered two l-hour sessions and said that if Mr. Holden needed any more
during the probationary period, he would have to pay for them. Lynn also refused to even
consider assigning Mr- Holden a consistent clinical preceptor although one could have been
assigned without undue hardship to the University.

91. Penn’s Nurse Anesthesia Handbook indicates that all students have access to the
SIM Lab for individualized sessions and provides no indication that any student has to pay extra
to schedule such sessions

92. Later on l\/larch 24th, Professor Lynn wrote to Mr. Holden to inform him that he
had an appointment the next day at SDS to discuss his “learning disabilities.” 1n fact, l\/lr. Holden
has ADHD and anxiety, neither of which is a learning disability

93. Also on March 24th, Mr. Holden went to the SIM Lab for technical practice with
Pete Conicelli, a lecturer and lab instructor, who had no reason to know about his medical
condition or his academic standing l\/lr. Holden thanked Mr. Conicelli by E-mail. When Mr.
Conicelli wrote back four days later, he included negative criticisms he had not offered during
the simulation session and, inexplicably, sent copies to Professor Lynn and to Lori Ann Winner.

94. Meanwhile, on March 25, 2014, Mr. Holden went to SDS to inquire as to whether

it could help him secure the adjustments he needed during the probationary period

_14_

Case 2:16-cv-01354-GA|\/| Document 1 Filed 03/24/16 Page 15 of 20

95. Staff at SDS told Mr. Holden on March 25th and 26th that because the support he
was requesting i.e-, access to the SIM Lab and a consistent preceptor, was “department-specific”
and not on the list of accommodations SDS provides it could not assist him.

96.t The University provided no supervision or oversight to ensure that the School of
Nursing was complying with the accommodation or ami-discrimination provisions of Title 111
and Section 504.

97. On April l, 2014, Mr. Holden specifically placed the Department of Nursing on
written notice that he was invoking his rights under the ADA.

98. On Apiil 16, 2014, l\/lr. Holden met with Professor Lynn and Associate Dean
McCauley to discuss his concerns regarding the Written Warning. VVhile he was alone with Dr.
McCauley, she told him that he because of his anxiety, he “[saw] the world differently” and not
the way things really are

99. Qn April 17, 2014, in order to return to clinical, Mr. Holden reluctantly signed a
slightly redacted version of the Written Warning which placed him on probation

100. By this time it was too late to withdraw from the clinical course When he asked
about the impact the 3 l-day absence would have on his grade, he was informed that he would
receive a C+.

101. On April 22, 2014,_Mr. Holden returned to clinical. Just six (clinical) days later,
on April 30, 2014, he was permanently removed from clinical and told that he would fail the
course

102. Based on his failing grade, Mr. Holden would be ineligible to progress any further

in the nurse anesthesia program and he was thereafter dismissed on May 7"h.

_15_

Case 2:16-cv-01354-GA|\/| Document 1 Filed 03/24/16 Page 16 of 20

103. The School ofl\lursing based its decision to remove Mr. Holden from the nurse
anesthesia program on false documentation created on April 30th purportedly demonstrating poor
performance during the first case of the day, which did not go smoothly due to circumstances
beyond Mr. Holden’s control, and the second case which happened entirely after Mr. Holden left
the room.

104. The anesthesia summary includes falsified information purportedly written by Mr.
Holden when he was in the hallway talking to his wife on the phone He had no contact with the
patient, administered no medication, and made no notations to the chart.

105. The anesthesiologist, who was only in the room for five minutes wrote on the
preceptor’s report that Mr. Holden’s “personality” does not lend[ ] itself to this field because he
is “nervous easily distracted, and [ ] unable to multi~task.” The anesthesiologist did not know
Mr. Holden and was not qualified to comment on his personality.

106. Mr. Holden did not receive a copy ofthe April 30th report until May 21“, weeks
several weeks after he had appealed his failing grade to the Academic Standards and
Progressions Committee.

107. During a meeting on his grade appeal on lune 9“‘, Mr. Holden was informed by
the Committee that the reason he failed the clinical was because he was placed on probation in
lanuary and subsequently removed from clinical ln fact, he had not been placed on probation
until April, by which time he had missed 31 days of clinical as well as the deadline for

withdrawing from the course and after having been removed from clinical on February 22“d.

_15_

Case 2:16-c\/-01354-GA|\/| Document 1 Filed 03/24/16 Page 17 of 20

108. Mr. Holden requested the School of Nursing to allow him to withdraw from the
clinical course without a grade Altematively, he requested that he be allowed to participate in
the School of Nursing’s remediation course which is available to students who require it whether
or not they have a disability

109. On lurie 10, 2014 the Academic Standards Committee advised Mr. Holden
that he was being dismissed on the ground of “unsaf`e practice” on April 30‘*1.

110. The School of Nursing denied Mr. Holden’_s request for reconsideration and
upheld the failing grade, thus resulting in his permanent dismissal from the nurse anesthesia
program

111. As a result of Penn’s ongoing discrimination against him and retaliation on the
basis of his protected activity, Mr. Holden has suffered personal, professional, and financial harm
as well as emotional distress and other compensatory damages

112. Among other things Mr. Holden took out approximately 3100,000.00 in student
loans to finance his graduate education, which he is now required to repay without a degree in
nurse anesthesia

113. Because of his dismissal from the nurse anesthesia program for “unsafe practice,”
Mr. Holden is ineligible to study for a nurse anesthesia degree in any other university

114. The University’s ongoing actions against Mr. Holden were intentional,

discrirninatory, and retaliatory and in violation of his rights under Title HI and Section 504.

,17_

Case 2:16-cv-01354-GA|\/| Document 1 Filed 03/24/16 Page 18 of 20

VI. STATEMENT OF CLAIMS
COUNT I: DISCRIMINATI()N

115 . The allegations set forth in Paragraphs 1-113 are re-alleged and incorporated by
reference herein

116. The University’s continuing actions as described above constitute illegal
discrimination against Mr. Holden on the basis of his disability or perceived disability and
deprived him of an equal opportunity to participate in the nurse anesthesia program because of
his disability, including, but not limited to, its failure to provide him with services and supports
afforded to students without disabilities failure to provide reasonable accommodation, its
demand for private medical information and disclosure of such information to staff, faculty and
supervisors unwarranted imposition of action plans written warm`ng, probation, failing grade,
refusal to permit remediation, and dismissal from the nurse anesthesia program.

ll7. The University’s discriminatory conduct violates Mr. Holden’s rights under 'l`itle
lll and Section 504.

COUNT I: RETALIATION PURSUANT TO TITLE III AND SECTION 504

118. The allegations set forth in Paragraphs l- 117 are re-alleged and
incorporated by reference herein.

119. Plaintiff’ s express and implicit requests for accommodation constituted protected
activity under the ADA and Section 5 04, as does his explicit expression of intention to stand on

his rights

..18_

Case 2:16-cv-01354-GA|\/| Document 1 Filed 03/24/16 Page 19 of 20

120. The University’s adverse actions against l\/lr. Holden, including but not limited to
placing him on probation without legitimate cause, falsifying documents failing him in the
clinical course, refusing to accommodate him or allow him to participate in the School of
Nursing’s own remediation program, accusing him of “unsafe practice” and dismissing him from
the nurse anesthesia program are all causally related to his protected activity and because of that
activity.l

121. The University’s adverse actions as described above constitute illegal retaliation
pursuant to Title 111 and Section 5 04.

WHEREFORE, Plaintiff prays for the following relief:

l. A declaratory judgment that the University’s actions as set forth above constitutes
discrimination on the basis of Plaintiff s disability in violation of his rights under Title Ill and
Section 5 04.

2. Award the Plaintiff compensatory damages for the financial losses emotional
distress professional and personal harm, and other compensatory damages Plaintiff sustained as
a result of the University’s illegal actions

3. Award Plaintiff and his counsel all costs and attorneys fees he has incurred or will

incur in the prosecution of this action.

-19_

DATE:

Case 2:16-cv-01354-GA|\/| Document 1 Filed 03/24/16 Page 20 of 20

4. Award all other relief which may be just and proper under the circumstances

March 24, 2016

Respectfully submitted,

di arrest kidding
LORRIE McKINLEY, ESQUIRE
Attoiney I.D. No. 41211

McKINLEY & RYAN, LLC
238 West Miner Street

West Chester, PA 193 82
(610) 436-6060

(610) 43 6-6804 (facsimile)

ATTORNEY FOR PLAINTIFF

_29_

